                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:10-cr-227


UNITED STATES OF AMERICA                            )
                                                    )
                       vs.                          )
                                                    )                        ORDER
                                                    )
CHERRON HOLT (1)                                    )
                                                    )


       THIS MATTER is before the Court upon motion of the defendant for a peremptory

setting the week of June 20, 2011, during the Court’s June criminal trial term in the Charlotte

Division. (Doc. No. 87).

       Counsel for the defendant requests a setting that week to accommodate child-care issues.

Unfortunately, the Court is not available to conduct the trial during that time because of the

Fourth Circuit’s Judicial Conference. The Court will, however, attempt to call this case for trial

at a mutually convenient date for the parties.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendants, counsel for the

defendants, and to the United States Attorney.

                                                        Signed: May 16, 2011




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